            Case 4:20-cv-05216-EFS                    ECF No. 18         filed 12/03/21    PageID.833 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                   for the_                                   EASTERN DISTRICT OF WASHINGTON

                                                      Eastern District of Washington
                        RAYMOND A.,
                                                                                                              Dec 03, 2021
                                                                                                                   SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:20-CV-5216-EFS
                  KILOLO KIJAKAZI,                                   )
          ActingCommissioner of Social Security,                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 14, is DENIED. The Commissioner’s Motion for Summary
’
              Judgment, ECF No. 15, is GRANTED. JUDGMENT in favor of Defendant.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                   Edward F. Shea                                          on a cross-motions for summary judgment.




Date: 12/3/2021                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                             Courtney Piazza
